  Case 16-30672          Doc 62     Filed 11/15/18 Entered 11/15/18 13:12:46               Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NORTH DAKOTA

                                                     ) Bankr. Case No. 16-30672
 In re:
                                                     )
                                                     ) Chapter 7
 Vortex Drain Tiling LLC,
                                                     )
                                                     ) MOTION TO LIMIT NOTICE
                                        Debtor.
                                                     )

TO: INTERESTED PARTIES

          Forrest C. Allred, Chapter 7 Trustee (“Trustee”), moves the Court for the relief requested
below.

        This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334 and
Bankruptcy Rule 5005. The proceeding is a core proceeding. On December 28, 2016, the debtor filed
a voluntary petition for relief under chapter 7 of title 11 of the United States Code (the “Bankruptcy
Code”). The case is now pending in this court.

          This motion is filed under Bankruptcy Rule 2002(h) and Local Rule 2002-1(8).

        Trustee requests the Court to approve his request for limited notice. The Trustee has filed a
Notice of Motion and Motion for Sale of Real Property (doc. 61) and requests that notice thereof be
limited to interested parties who have filed a claims, a notice of appearance, a request for notice, the
Debtor and the United States Trustee.

          DATED this 15th day of November, 2018.
                                                                 /s/ Forrest C. Allred
                                                                 Forrest C. Allred
                                                                 Chapter 7 Trustee
                                                                 14 2nd Ave SE, Suite 200
                                                                 Aberdeen, SD 57401
                                                                 Telephone: (605) 225-3933
                                                                 Fax: (605) 225-3933
